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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 VIRGINIA ELIZONDO,                               §
                                                  §
                  Plaintiff,                      §
                                                  §
 v.                                               §                Civil Action No. 4:21-cv-01997
                                                  §
 SPRING BRANCH INDEPENDENT                        §
 SCHOOL DISTRICT, et al.,                         §
                                                  §
                 Defendants.                      §

        PLAINTIFF’S REQUEST THAT COURT TAKE JUDICIAL NOTICE OF
                          ADJUDICATIVE FACTS

       Plaintiff Virginia Elizondo files this Request that the Court Take Judicial Notice of the

contents of the Ordinances described below pursuant to FED.R.EVID. 201.

       The fact and contents of the Ordinances described below are not subject to reasonable

dispute because each of the Ordinances can be accurately and readily determined from sources

whose accuracy cannot reasonably be questioned.

       Plaintiff has attached pertinent portions of each of the Ordinances to this request to supply

the Court with the necessary information to take judicial notice of each Ordinance and of the fact

that Hunters Creek Village, Bunker Hill Village, Piney Point Village, Hedwig Village and Spring

Valley Village in the Spring Branch Independent School District each have zoning ordinances

which restrict residential land use to single-family residences.

       Plaintiff requests that the Court take judicial notice of the attached pertinent portions of the

following municipal Ordinances:

       1.      Bunker Hill Village, Texas Code of Ordinances Sec. 1.01 through 15.02 (Pertinent
               portions attached as Exhibit A). Mini TOC: APPENDIX A - ZONING | Code of
               Ordinances | Bunker Hill Village, TX | Municode Library

       2.      Piney Point Village, Texas Code of Ordinances Sec. 74-1 through 74-282.
               (Pertinent portions attached as Exhibit B). Chapter 74 - ZONING | Code of
               Ordinances | Piney Point Village, TX | Municode Library
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       3.      Hunters Creek Village, Texas Code of Ordinances Sec. 44-1 through 44-260.
               (Pertinent portions attached as Exhibit C). Chapter 44 - ZONING | Code of
               Ordinances | Hunters Creek Village, TX | Municode Library

       4.      Spring Valley Village, Texas Code of Ordinances Sec. 12.101 through 12.103,
               01:01 through 01:05.11, 02:01 through 02:03.02, 03:A-01 through 03:W-01, 04:01
               through 04:06, 05:01 through 05:02.11. (Pertinent portions attached as Exhibit D).
               Mini TOC: CHAPTER 12 - PLANNING & ZONING | Code of Ordinances | Spring
               Valley Village, TX | Municode Library

       5.      Hedwig Village, Texas Code of Ordinances Sec. 101 through 816. (Pertinent
               portions attached as Exhibit E). APPENDIX A - PLANNING AND ZONING
               CODE | Code of Ordinances | Hedwig Village, TX | Municode Library

Date: September 23, 2024                     Respectfully submitted,


                                              /s/ Barry Abrams
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                                              SD Tex. Bar No. 2138
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                                              State Bar No. 17911800
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                                              COUNSEL FOR PLAINTIFF


                                 CERTIFICATE OF SERVICE

        Pursuant to the provisions of the Texas Rules of Civil Procedure, I certify that a copy of
the foregoing document was served on all known counsel of record electronically on September
23, 2024.



                                                     /s/ Barry Abrams
                                                     Barry Abrams
